        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT



                            Nos. 24-1593, 24-1594 & 24-1602



                                      Kim v. Hanlon
                                (D.N.J. No. 3:24-cv-01098)



                                         ORDER



        The appeals are consolidated for purposes of scheduling, the joint appendix, the
plaintiffs’ brief, and disposition. The Court disfavors redundant briefing, so the
appellants are encouraged to file a single, consolidated brief. If that is not practicable,
they should consult with one another regarding the contents of their briefs and join in or
adopt portions of the other’s brief by reference. See Fed. R. App. P. 28(i).

       Case-opening forms, motions, briefs, and other documents should be filed only in
the appeal(s) to which the documents relate. Failure to file documents in the appropriate
appeal(s) may result in the issuance of a noncompliance order. If the parties are unsure
how to file a particular document, they should call the case manager prior to filing the
document.



For the Court,

s/ Patricia S. Dodszuweit
Clerk


Dated: April 1, 2024
Tmm/cc: All Counsel of Record
